                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-cr-57
v.                                                    )
                                                      )       COLLIER / LEE
JOHN D. WINTERS                                       )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six-count

Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in

Count One, that is of conspiracy to distribute a mixture or substance containing a detectable amount

of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

One of the Indictment, that is of conspiracy to distribute a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C.

§§ 841(a)(1) and 841(b)(1)(C); (4) defer a decision on whether to accept the plea agreement until

sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter (Court File

No. 29). Neither party filed a timely objection to the report and recommendation. After reviewing

the record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File

No. 29) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to the lesser included offense of the charge in Count One,



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            that is of conspiracy to distribute a mixture or substance containing a detectable

            amount of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C.

            §§ 841(a)(1) and 841(b)(1)(C) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

            in Count One, that is of conspiracy to distribute a mixture or substance containing

            a detectable amount of cocaine, a Schedule II controlled substance, in violation of

            21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, April 26, 2012 at 2:00 p.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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